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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

MAHMOUD KHALIL,
No. 25-cv-01963 (MEF)
Petitioner,

ORDER

WILLTAM P. JOYCE, et al.,

Respondents.

The parties have moved to set a briefing schedule that would
supersede the previously-estabiished schedule. See ECF 84.
This is, in part, so that filings can be adjusted to reflect
“the potential relevance of different authorities in a new
venue.” Id. at 2.

As to the briefing deadlines they jointly seek, the parties’
motion 1s granted, subject to the 5:00pm caveat set out below.

The parties disagree in two places.

First, they disagree as to when the Respondents will file
additional materials on their motion to transfer venue. The
Petitioner asks for March 25. The Respondents ask for March 26.

The date will be March 26. The extra day will not slow down the
Court’s decision-making.

Second, as to the Petitioner’s motion for release: for their
opposition, the Respondents seek a deadline of March 24, and the
Petitioner seeks March 21; and as to the Petitioner’s reply, he
asks for March 24, and the Respondents want March 26.

The opposition shall be filed by 9:00am on March 23.

Given this timing, the Petitioner shall file a one-sentence
letter before 2:00pm on March 23, indicating when he will file
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his reply. The Petitioner may opt to do so on March 24, as he
requests, Or at any point before March 26 at 5:00pm.

Unless the Court specifies otherwise, all briefing in this case
shall be filed at 5:00pm on the date of the briefing deadline.

IT IS on this 20th day of March, 2025, SO ORDERED .

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Michael BE. Farbiarz, U.S.D.Jd.
